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12
                                UNITED STATES DISTRICT COURT
13
                             NORTHERN DISTRICT OF CALIFORNIA
14
                                     SAN FRANCISCO DIVISION
15
   HUAWEI TECHNOLOGIES CO., LTD., et al.,          CASE NO. 16-cv-02787-WHO
16
                         Plaintiffs,               SAMSUNG’S OPPOSITION TO
17                                                 HUAWEI’S MOTION TO
           v.                                      PRECLUDE SAMSUNG’S FRAND
18                                                 EXPERTS FROM OFFERING
   SAMSUNG ELECTRONICS CO., LTD., et al.,          IMPROPER LEGAL OPINIONS
19
                         Defendants.               Hearing Date: August 8, 2018
20                                                 Time: 2:00 p.m.
                                                   Judge: Hon. William H. Orrick
21 SAMSUNG ELECTRONICS CO., LTD. &
   SAMSUNG ELECTRONICS AMERICA, INC.               REDACTED VERSION OF
22                                                 DOCUMENT SOUGHT TO BE
                         Counterclaim-Plaintiffs,  SEALED
23
           v.
24
   HUAWEI TECHNOLOGIES CO., LTD.,
25 HUAWEI DEVICE USA, INC., HUAWEI
   TECHNOLOGIES USA, INC., & HISILICON
26 TECHNOLOGIES CO., LTD.
27                    Counterclaim-Defendants.
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 1 I.       INTRODUCTION
 2          Huawei’s motion to preclude certain “legal opinions” from the expert reports of Michael

 3 A.M. Davies and Jerry A. Hausman should be denied. Several of the challenged paragraphs simply

 4 provide standard disclosures of the legal framework within which each expert renders his opinions.

 5 The remaining challenged paragraphs fall well within each expert’s undisputed areas of subject

 6 matter expertise. Where each expert uses any legal terminology, it is only to explain the legal

 7 framework for his opinions or to convey expert analysis well within his field of expertise. Fidelity

 8 Nat. Financial, Inc. v. Nat. Union Fire Ins. Co. of Pittsburg, PA, 2014 WL 1286392, at *9 (S.D.

 9 Cal. March 28, 2014) (“The Ninth Circuit allows an expert to refer to the applicable laws and

10 regulations that inform his opinion.”).

11          For Mr. Davies, most of the challenged statements consist of undisputed facts regarding

12 standard essential patents (“SEPs”) that provide context and background to his assignment in this

13 case: opining on technical alternatives to Huawei’s purported SEPs at the time of the adoption of

14 the 4G standard in order to support Samsung’s antitrust case. These statements are well-grounded

15 in Mr. Davies’ experience as a Senior Lecturer at Massachusetts Institute of Technology (“MIT”),

16 as a patent holder, and as a frequent participant in industry standard setting. Similarly, all of the

17 challenged statements in Prof. Hausman’s report reflect his economic analysis of Huawei’s

18 anticompetitive behavior grounded in his unquestioned experience as a Professor of Economics at
19 MIT with a research focus on Industrial Competition. The fact that Prof. Hausman at times uses

20 legal terminology to proffer his economic analysis does not impeach that analysis, but rather places

21 it squarely in the proper context to explain Huawei’s antitrust violation. Huawei’s motion should

22 be denied.

23 II.      HUAWEI’S CASE LAW IS INAPPOSITE

24          It is standard practice for experts to conduct their analyses and provide opinions within the
25 parameters of a legal framework. Advanced Thermal Scis. Corp v. Applied Materials Inc., 2009

26 WL 10673194, at *1 (C.D. Cal. Oct. 28, 2009) (“The analysis of complex facts, albeit within a legal
27 framework, is a proper role for an expert.”); see also Altera Corp. v. PACT XPP Techs., AG, 2015

28 WL 4999952, at *1 n.1 (N.D. Cal. Aug. 21, 2015) (limiting future expert testimony “to proper

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 1 subjects for expert opinion and any facts or legal understandings necessary to form those opinions”).

 2 While it is true that an expert cannot invade the province of the court to instruct on the law, an expert

 3 may offer his opinions within the legal terminology of the legal framework pertinent to his opinions.

 4 Fidelity, 2014 WL 1286392, at *8-9 (allowing expert to “couch[] his opinion in legal terms” and

 5 “‘refer to the law in expressing his opinion’ so as to assist the jury understand the facts.”).

 6          The cases cited in Huawei’s motion are inapposite as they involve experts usurping the

 7 Court’s role by rendering opinions on legal questions. For example, in Crow Tribe of Indians v.

 8 Racicot (Mot. at 2-4), the challenged testimony was an expert’s interpretation of the term “lottery

 9 games” in the contract at issue. 87 F.3d 1039, 1044-45 (9th Cir. 1996). The Court held that such

10 expert testimony was impermissible because “interpretation of a contract is an issue of law” and

11 “[e]xpert testimony is not proper for issues of law.” Id. at 1045. Similarly, in Pokorny v. Quixtar

12 Inc., (Mot. at 2), the Court excluded the expert’s challenged testimony because he opined that the

13 contract at issue was “unconscionable,” which was “the exact legal question that the Court itself

14 w[ould] decide.” 2007 WL 1932922, at *2-3 (N.D. Cal. June 29, 2007).

15          Here, neither Mr. Davies nor Prof. Hausman interpret contractual provisions, nor do they

16 usurp the role of the Court in instructing on pure legal matters. Mr. Davies and Prof. Hausman do,

17 in certain parts of their challenged testimony, reference the pertinent legal framework, but only in

18 service of providing opinions on electrical engineering and economics, their respective areas of
19 expertise. Indeed, Huawei cites authority, Villalpando v. Exel Direct Inc., (Mot. at 2-3), that makes

20 clear that experts may base their factual analysis on legal assumptions. 161 F. Supp. 3d 873, 895

21 (N.D. Cal. 2016) (allowing expert testimony “to the extent that [expert] may offer factual testimony

22 that is based on legal assumptions”) (emphasis added). Samsung’s experts merely disclose these

23 legal assumptions in their reports, and additionally give opinions that rest on the legal assumptions

24 they have adopted.

25 III.     THE CHALLENGED PARAGRAPHS OF MR. DAVIES’ EXPERT REPORT DO
            NOT SET FORTH IMPROPER LEGAL OPINIONS
26
27          Mr. Davies is a Senior Lecturer at MIT, where he teaches the business and engineering

28 portions of the Integrated Design and Management Program. He has served as an expert in over

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 1 eighteen cases, including as an industry expert for the Department of Justice in 2011 in the antitrust

 2 investigation of the proposed AT&T and T-Mobile merger. Ex. 1, ¶¶ 11-12, Ex. 1.

 3          Huawei argues that paragraphs 21 through 27 of Mr. Davies’ report offer objectionable

 4 “legal opinions concerning the conditions under pursuit of injunctive relief in connection with

 5 infringement of a standard essential patents may violate the antitrust laws at trial.” Mot. at 2. A

 6 simple inspection of these paragraphs reveals that only paragraph 27 includes any discussion of

 7 these “conditions”:

 8                 Report Paragraph                                    Subject Matter
 9   21. I have been asked to examine several          Summary of assignment and materials
10   patents and to determine whether or not there     reviewed. No legal opinions.
11   were technically feasible alternatives that
12   could have been chosen as the basis for the
13   relevant standard. I have reviewed each of
14   these patents, identified the key mechanisms
15   of concern, and I have considered whether a
16   person of ordinary skill in the art could have
17   readily identified alternative approaches that
18   met the same requirements. I have also looked
19   at other relevant prior art from the related
20   fields, in particular wireless communications,
21   with which a person of ordinary skill would
22   have been familiar, and wherein when
23   confronted with analogous problems
24   alternative approaches have been
25   implemented. I have reviewed, where
26   available, LTE patents describing alternative
27

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 1   approaches that were proposed by other parties
 2   for the LTE standard.
 3   22. Organizations within an industry may         High-level description of standard-setting
 4   cooperate to create a standard. As part of       process and SEPs. Huawei does not object to
 5   participating in the standards-making            the correctness of any of the content.
 6   process, each of these organizations makes a
 7   commitment that any patents which are
 8   essential to the standard, so called standard
 9   essential patents (SEPs), shall be licensed to
10   other entities on a fair, reasonable, and non-
11   discriminatory (FRAND) basis.
12   23. As these organizations work on               High-level description of standard-setting
13   developing and implementing the standard,        process and SEPs. Huawei does not object to
14   any individual member organization of the        the correctness of any of the content.
15   standards body may file patents. If a member
16   believes, and wishes to assert, that the
17   invention(s) described in one of their patents
18   must be used in order to properly implement
19   the standard, it declares the patent to be
20   standard essential with respect to that
21   particular standard. The standards body keeps
22   a record of every patent that is declared by
23   each of its constituent members to be
24   standard essential.
25   24. There are several reasons why a patent       High-level description of why a patent that is
26   that is declared to be standard essential may    declared to be standard essential may be found
27   be found to be non-essential. For instance, it
28

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 1   may be found upon thorough review that a          to be non-essential. Huawei does not object to
 2   patent which has been declared an SEP is only     the correctness of any of the content.
 3   applicable to some implementations or
 4   embodiments of the standard. For example, if
 5   one of a company’s patents deals with TDD
 6   mode, but TDD mode is only one of a plurality
 7   of possible implementation options within the
 8   standard, the patent would be found to be non-
 9   essential due to the fact that the standard may
10   be successfully implemented without using the
11   patent at all (e.g. perhaps the standard also
12   supports FDD mode).
13   25. Generally, the value that a company is        High-level description of the value that a
14   entitled to recover for an SEP is equal to the    company is entitled to recover for an SEP, and
15   value that the patent held prior to it becoming the reason why. Huawei does not object to the
16   incorporated into the standard. The reason for correctness of any of the content.
17   this is simple. It is generally understood that
18   in many cases there are a number of feasible
19   alternative ways of satisfying the
20   requirements of the standard. Each of these
21   alternatives has the same value prior to the
22   selection of one to be adopted into the
23   standard. Once the selected patent has been
24   incorporated into the standard, anyone using
25   the patent in implementing the standard must
26   pay royalties for it on a Fair, Reasonable,
27   and Non-Discriminatory (“FRAND”) basis.
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 1   At this point, the value of that particular patent
 2   is much higher than the value of the patents or
 3   inventions that were not selected for adoption
 4   into the standard.
 5   26. A key difference arises when there is            High-level description of what occurs when
 6   objectively only one feasible way of satisfying      there is only one feasible way of satisfying the
 7   the requirements of the standard. In this case,      FRAND requirements. Huawei does not
 8   the patent would be called “fundamental,” as         object to the correctness of any of the content.
 9   there are no acceptable alternative
10   implementations. For example, the only way
11   to meet the design requirements for LTE with
12   low latency, high bandwidth, and high coding
13   efficiency is to use orthogonal frequency-
14   division multiplexing (OFDM). Other
15   schemes like code-division multiple access
16   (CDMA) cannot be used, for reasons including
17   some issues related to mobility management.
18
19          These challenged statements thus set forth Mr. Davies’ understanding of the legal framework
20 for standard essential patents, as well as basic technical opinions about SEPs that fall well within

21 Mr. Davies’ expertise and experience as a frequent participant in standard setting activities; as a

22 patent holder in the field of wireless telecommunications; as a Senior Lecturer at MIT in Electrical

23 Engineering; and as a significant leader in the telecommunications industry (including as New

24 Zealand’s representative to the standard-setting organization International Telecommunication

25 Union Radiocommunication Sector). Ex. 1, ¶ 14, Ex. 1; Ex. 2, at 39:11-40:2. Critically, Huawei

26 does not attack the correctness or accuracy of any of these statements. Moreover, Huawei’s counsel
27 had the opportunity to explore where exactly Mr. Davies learned these legal principles at his

28 deposition, but chose to limit his inquiry to whether Mr. Davies learned these principles from

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 1 Samsung’s counsel. Huawei’s motion as it pertains to paragraph 21-26 of Mr. Davies’s report

 2 should therefore be denied.

 3          That leaves paragraph 27. As discussed above, Mr. Davies has extensive experience in

 4 standard-setting, and is familiar with the rationales and principles underlying commitments made to

 5 the standard-setting body. Moreover, as permitted by courts, Mr. Davies is permitted to summarize

 6 his understanding of a general legal framework in which to apply “complex facts.” Advanced

 7 Thermal Scis., 2009 WL 10673194, at *1. Because Mr. Davies provides technical opinions

 8 supporting Samsung’s antitrust case, it is entirely proper for Mr. Davies to summarize his

 9 understanding of this general legal framework in his report. See Ex. 1, ¶ 27 (“A holder should not

10 be granted an injunction on a patent ex-post if the patent was only one of a number of equally

11 plausible alternatives ex-ante”); Fidelity, 2014 WL 1286392, at *9. Huawei’s motion should

12 therefore be denied as to paragraph 27 as well.

13 IV.      THE CHALLENGED PARAGRAPHS OF PROF. HAUSMAN’S EXPERT
            REPORTS SET FORTH PROPER ECONOMIC EXPERT ANALYSIS
14

15          Huawei’s motion to preclude paragraphs 32 and 56-58 from Prof. Hausman’s opening

16 rebuttal report, and paragraph 14 from his rebuttal report, should be denied because they properly

17 set forth economic opinions grounded in Prof. Hausman’s unquestioned expertise in economics and

18 industrial competition. See, e.g., U.S. Info. Sys., Inc. v. Int’l Bhd. of Elec. Workers Local Union No.
19 3, AFL-CIO, 313 F. Supp. 2d 213, 240-41 (S.D.N.Y. 2004) (permitting expert economist to “point

20 to factors that would tend to show anticompetitive conduct in a market…indicate whether he

21 believed those factors existed here, and what the economic significance of those factors would

22 be...[and] also explain how certain conduct could affect a market through the use of hypothetical

23 statements.”).    Prof. Hausman’s qualifications in the fields of economics and antitrust are

24 unimpeachable. Prof. Hausman is the MacDonald Professor of Economics at MIT, and has been at

25 MIT ever since he completed his D. Phil (Ph.D.) in economics from Oxford University in 1973

26 where he was a Marshall Scholar. Ex. 3, ¶ 1. Prof. Hausman has received the John Bates Clark
27 Award of the American Economic Association, awarded every other year for the most “significant

28 contributions to economics” by an economist under the age of 40, the Frisch Medal of the

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 1 Econometric Society, and has published over 170 academic research papers in leading economic

 2 journals.   Id. ¶ 2.   Prof. Hausman has testified as an expert witness in numerous antitrust

 3 proceedings, and has lectured on various antitrust issues to members of the Department of Justice,

 4 the Federal Trade Commission, amongst other international bodies. Id. ¶ 3. Prof. Hausman also

 5 has substantial experience in high-technology industries, and has conducted extensive academic

 6 research in the mobile telecommunications industry. Id. ¶¶ 4-6.

 7         Prof. Hausman draws from his wealth of antitrust and economic expertise in proffering the

 8 opinions within the paragraphs of his reports that Huawei now challenges. These opinions are well-

 9 grounded in economic analysis of the competitive dynamics of the wireless industry. To the extent
10 Prof. Hausman utilizes legal terminology, such opinions remain proper expert testimony because

11 Prof. Hausman uses such terms only to provide a legal framework for which to apply complex facts

12 as necessary to assist the jury understand such facts. Advanced Thermal Scis., 2009 WL 10673194,

13 at *1; Fidelity, 2014 WL 1286392, at *9.

14                 Report Paragraph                                  Subject Matter
15                                                   Economic analysis of anticompetitive
16                                                   behavior, and potential impact on economic
17                                                   welfare of society.
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11                                          Economic analyses of anticompetitive
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 1                                          Economic analysis of anticompetitive
 2                                          behavior.
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22          The bolded statements above are not legal in nature, but rather are grounded in and
23 demonstrate Prof. Hausman’s economic analysis of anticompetitive concerns arising from Huawei’s

24 behavior. Fleischman v. Albany Med. Ctr., 728 F. Supp. 2d 130, 166 (N.D.N.Y. 2010) (allowing

25 expert economist to “interpret[] the likelihood of a [legal issue] based on certain well accepted
26 economic factors” as his “opinions are informed by his background knowledge in economics and
27 his ability to apply the facts to this information.”); see also Hangarter v. Provident Life and Acc.

28 Ins. Co., 373 F.3d 998, 1016-17 (9th Cir. 2004) (“A[n] [expert] witness may refer to the law in

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 1 expressing an opinion without that reference rendering the testimony inadmissible.”). Thus, while

 2 Huawei takes issue with the legal framework underlying Prof. Hausman’s competitive analysis of

 3 injunctions—as demonstrated by its motion for summary judgment on Samsung’s antitrust claim—

 4 Huawei ignores that Prof. Hausman’s analysis itself is not legal. See Ex. 3, ¶¶ 56-58. Taken

 5 literally, Huawei’s argument to exclude this analysis would mean that expert economists could

 6 never opine as to the economic effects of an injunction. This cannot be.

 7          Other courts have routinely affirmed the reliability of Prof. Hausman’s economic opinions

 8 referencing pertinent legal principles, and have denied Daubert motions similar to Huawei’s motion.

 9 See, e.g., Int’l Bus. Machines Corp. v. Priceline Grp. Inc., 271 F. Supp. 3d 667, 692 (D. Del. 2017)
10 (denying motion to exclude Prof. Hausman’s testimony where Prof. Hausman provided economic

11 analysis couched within terminology of a patent damages legal framework); see also Jaffe v.

12 Samsung Elecs. Co., 737 F.3d 14, 22 (4th Cir. 2013) (crediting Prof. Hausman’s testimony that

13 “failure to apply Section 365(n) [of the U.S. Code] would reduce investment, innovation, and

14 competition, which would harm U.S. productivity growth and U.S. consumers as well as worldwide

15 productivity and consumers.”); Purdue Pharma L.P. v. Boehringer Ingelheim GmbH, 98 F. Supp.
                                     |




16 2d 362, 398 (S.D.N.Y. 2000) (crediting Prof. Hausman’s testimony where Prof. Hausman testified

17 as to the anticompetitive effects that would occur if a preliminary injunction did not issue).

18          Underscoring the unreasonableness of its position, Huawei seeks to exclude opinions
19

20

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24      To the extent the Court grants Huawei’s motion pertaining to Prof. Hausman, the Court should

25 similarly preclude Huawei’s experts from proffering similar testimony.
26          Huawei concludes its motion by rearguing its contemporaneously filed motion for summary
27 judgment. It again disagrees with Prof. Hausman that Huawei’s SEP abuses violated U.S. antitrust

28 laws, including under the “act of state” doctrine. See Dkt. 327-8. For the same reasons set forth in

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 1 Samsung’s opposition to Huawei’s summary judgment motion concurrently filed herewith,

 2 Huawei’s arguments are meritless.

 3 V.      CONCLUSION

 4         For the foregoing reasons, Huawei’s motion should be denied.
 5 DATED: July 17, 2018                        Respectfully submitted,
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 7                                             SULLIVAN, LLP

 8                                        By       /s/ Victoria F. Maroulis
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